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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF MISSISSIPPI

                                    NOTICE OF ASSIGNMENT

         Date case was filed February 20, 2024

         Your case against Warden Ping has been assigned Civil Action No. 3:24-cv-101-KHJ-

 MTP and has been referred to the following Judges:

  District Judge                                        Magistrate Judge

          Henry T. Wingate                             X        Michael T. Parker
          Daniel P. Jordan III                                 F. Keith Ball
          Sul Ozerden                                          Bradley W. Rath
          Carlton W. Reeves                                    Robert P. Myers, Jr.
  X        Kristi H. Johnson                                    LaKeysha Greer Isaac
          Taylor B. McNeel
          David Bramlette, III (Senior Judge)
          Tom S. Lee (Senior Judge)                    Division
          Louis Guirola, Jr. (Senior Judge)               Clerk’s Office, Northern Division
          Keith Starrett (Senior Judge)                   501 E. Court Street, Suite 2.500
                                                           Jackson. MS 39201


       It is your responsibility to see that all pleadings and correspondence filed with this Court
regarding this case contain the civil action number and judge designations.
       If you wish to have a stamped filed copy of any pleading or document filed in this case
returned to you, you will need to send an extra copy of the document along with a stamped
self-addressed envelope. If you do not send an extra copy of the documents and a stamped
self-addressed envelope, this Court will be unable to return a copy to you.
       NOTICE FOR CHANGE OF ADDRESS: When there is a change of address for the
plaintiff, the plaintiff must notify this Court in writing in a separate document with the following
specific information: (1) state the civil action number of the case; (2) state that the plaintiff is
requesting this Court to change his address of record; (3) state the new address of the plaintiff;
and (4) if applicable, state the prisoner number of the plaintiff.
       The failure to advise this Court of a change of address or failure to comply with any
order of this Court will be deemed as a purposeful delay and contumacious act by the plaintiff
and may result in the dismissal of your case.


PSP                                                                                        Rev. 01/2021
